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UN|TED STATES D|STR|CT COURT

D|STR|CT OF |DAHO

SEALED
UNITED STATES OF AMER|CA WARRANT FOR ARREST

v.
GENNADY BAB|TCHENKO
aka GENNADll BAB|CHENKO

CASE NUMBER; 1318-cr-258-EJL

To', The Uniied States N|arsha|
and any Authorized United States Ofncer

YOU ARE HEREBY COMM|ANDED to arrest GENNADY BAB|TCHENKO and bring forthwith

to the nearest magistrate to answer |ND|CTMENT charging with the below listed wio|atic>nl

18 U S C. §§ 1349, )1343- Conspiracy to Commit Wire Fraud
18 U. S. C § 2320 (b}(1)(f)(1)- Conspiracy to Trafnc Counterfeit Goods

      

E____,|._|__:. ..... ___
18 U. S. C § 1958(h )-Conspiracy to Launder Nloney ! ( `__
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051 geo nlJtiestri¢::‘la::;E\lcla(:u:ln5 § 1 ,
lssuED it
l

Sunny Tmmbui'i
an Aug 17 201812 49 pm

 

 

fs)' Sur)nv Trumbu||. Denutv Clerk August17, 2018
Name and Tit|e of issuing Officer Date
RETURN

 

This warrant was received 125 |fl _:§|§ and executed with the arrest of the above-

narned individual at
w 1/22'20\§

Signature of Arresting Offlcer Date of Arrest

C-Sl\lii limit Vl§)\

Name & Tit|e of Airesting Ocher

 

 

 

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